Case 3:20-cv-04423-JD Document 248-15 Filed 02/13/23 Page 1 of 2




         EXHIBIT 55
           Case 3:20-cv-04423-JD Document 248-15 Filed 02/13/23 Page 2 of 2

<hl>Autoplay videos in YouTube Go</hl>
<P dir="ltr">The Autoplay feature makes it easier to decide what to watch next. After
you watch a YouTube video, we'll automatically play another related video based on your
viewing history.</p>
<p>Autoplay is switched on by default. At the end of each video, you'll see a countdown
that tells you what's going to play next. You can click <strong>Cancel</strong> on the
countdown screen to prevent the next video from automatically playing.</p>
<h3 dir="ltr">Turn Autoplay off</h3>
<P dir="ltr">You can adjust your Autoplay setting by toggling "Autoplay" under the video
pl ayer, or: </p>
<ol di r="ltr">
  <li>Go to your Profile picture icon.</li>
  <li>Scroll down to the "Autoplay" section.&nbsp;</li>
  <li>Toggle "Autoplay next video" off .</li>
</Ol>
<div class="note">
  <div class="no-margin"><strong>Note</strong>: Autoplay will remain off until you turn
it back on.</div>
</div>
<p>YouTube Go automatically uses your most recent quality selection to play the
following video. If you would like to adjust the quality selection, exit Autoplay by
selecting a new video to play, and then select a different quality.</p>




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